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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF IDAHO



UNITED STATES OF AMERICA,              )
                                       )
     Plaintiff,                        )                 Case No. 1:21-cr-00072-DCN
                                       )
v.                                     )                 REPORT AND
                                       )                 RECOMMENDATION
ISRAEL JACOB SALINAS,                  )
                                       )
     Defendant.                        )
 _____________________________________ )

      On October 20, 2021, Defendant appeared before the undersigned United States

Magistrate Judge to enter a change of plea. Defendant executed a written waiver of the

right to have the presiding United States District Judge take his change of plea.

Thereafter, the Court explained to Defendant the nature of the charges, the maximum

penalties applicable, his constitutional rights, the effect of the Sentencing Guidelines, and

that the District Judge would not be bound by any agreement of the parties as to the

penalty to be imposed. Further, the undersigned ordered a pre-sentence report.

      Having conducted the change of plea hearing and having inquired of Defendant

and his counsel, and counsel for the United States, the Court concludes that there is a

factual basis for Defendant’s plea of guilty, and that it was entered voluntarily and with

full knowledge of the consequences, and that the plea should be accepted. The

undersigned also ordered a pre-sentence investigation to be conducted and a report

prepared by the United States Probation Office.




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                                    RECOMMENDATION

       NOW THEREFORE IT IS HEREBY RECOMMENDED:

1.     The District Court accept Defendant’s plea of guilty to Count One of the Indictment (Dkt.

       1).

2.     The District Court order forfeiture consistent with Defendant’s admission to the Criminal

       Forfeiture allegation in the Indictment (Dkt. 1).



       Written objections to this Report and Recommendation must be filed within fourteen (14)

days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a result of failing to do so,

that party may waive the right to raise factual and/or legal objections to the United States Court

of Appeals for the Ninth Circuit.



                                                      DATED: October 20, 2021



                                                      Honorable Raymond E. Patricco
                                                      U.S. Magistrate Judge




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